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 1   Tanya E. Moore, SBN 206683
     MOORE LAW FIRM, P.C.
 2   300 South First Street, Suite 342
     San Jose, California 95113
 3   Telephone (408) 298-2000
     Facsimile (408) 298-6046
 4   E-mail: service@moorelawfirm.com
 5   Attorney for Plaintiff,
     Albert Dytch
 6
 7
 8                              UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10
11   ALBERT DYTCH,                     )                  No. 3:20-cv-06004-SK
                                       )
12               Plaintiff,            )                  STIPULATION TO CONTINUE LAST
                                       )                  DATE TO MEET AND CONFER UNDER
13           vs.                       )                  GENERAL ORDER 56; [PROPOSED]
                                       )
14   ANTICA RESTAURANTS, LLC dba DOPO, )                  ORDER
     et al.,                           )
15                                     )
                                       )
16               Defendants.           )
                                       )
17                                     )
                                       )
18                                     )
                                       )
19                                     )
                                       )
20
21          WHEREAS, on August 27, 2020, the Court issued a Scheduling Order for Cases
22   Asserting Denial of Right of Access under the Americans with Disabilities Act (Dkt. 6) (“the
23   Scheduling Order”).
24          WHEREAS, Plaintiff Albert Dytch (“Plaintiff”) and Defendants, Lynne S. Tilsen;
25   Anne En-Yi Wu; John W. Wu; Zaza H. Wu; Florence E. Trent, Trustee of the trust of Florence
26   E. Trent, dated October 30, 2000; and Shirley Tilsen, Trustee of the Family Trust of the Tilsen
27   Family Trust dated June 21, 1991 (“Defendants,” and together with Plaintiff, “the Parties”)
28   have a pending deadline to meet and confer on or before December 7, 2020.

      STIPULATION TO CONTINUE LAST DATE TO MEET AND CONFER UNDER GENERAL ORDER 56;
                                    [PROPOSED] ORDER


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 1            WHEREAS, the Parties were unable to schedule a date and time, before the December
 2   7, 2020 deadline to complete the meet and confer;
 3            NOW, THEREFORE, it is hereby stipulated the meet and confer required under
 4   General Order 56 and this Court's Scheduling Order take place on Zoom videoconferencing by
 5   December 8, 2020 at 3:00 p.m. The Parties accordingly request an extension of the deadline to
 6   complete the meet and confer on Zoom videoconferencing to December 8, 2020.
 7            IT IS FURTHER STIPULATED that if a settlement of the matter is not reached at
 8   the meet and confer, that Plaintiff shall file a Notice of Need for Mediation within 14 days of
 9   the meet and confer.
10            IT IS SO STIPULATED.
11
12   Dated: November 6, 2020                     MOORE LAW FIRM, P.C.
13
                                                 /s/ Tanya E. Moore
14                                               Tanya E. Moore
                                                 Attorney for Plaintiff,
15
                                                 Albert Dytch
16
17   Dated: November 6, 2020                     Law Office of Rick Morin, PC

18
19                                               /s/ Richard Morin
                                                 Richard Morin
20                                               Attorney for Defendants,
                                                 Lynne S. Tilsen; Anne En-Yi Wu; John W. Wu;
21                                               Zaza H. Wu; Florence E. Trent, Trustee of the trust
22                                               of Florence E. Trent, dated October 30, 2000; and
                                                 Shirley Tilsen, Trustee of the Family Trust of the
23                                               Tilsen Family Trust dated June 21, 1991
24
     ///
25
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26
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27
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28

      STIPULATION TO CONTINUE LAST DATE TO MEET AND CONFER UNDER GENERAL ORDER 56;
                                    [PROPOSED] ORDER


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 1                                           ATTESTATION
 2   Concurrence in the filing of this document has been obtained from each of the individual(s)
 3   whose electronic signature is attributed above.

 4                                                /s/ Tanya E. Moore
                                                  Tanya E. Moore
 5                                                Attorney for Plaintiff,
 6                                                Albert Dytch

 7
                                                 ORDER
 8
              The parties having so stipulated and good cause appearing,
 9
              IT IS HEREBY ORDERED that the meet and confer required by this Court’s
10
     Scheduling Order and General Order 56 shall take place on Zoom videoconferencing no later
11
     than December 8, 2020.
12
              IT IS FURTHER ORDERED that if the parties are unable to reach a settlement of
13
     this matter at the meet and confer, Plaintiff shall file a Notice of Need for Mediation within 14
14
     days of the meet and confer.
15
16
     IT IS SO ORDERED.
17
18
     Dated:
19                                                United States Magistrate Judge
20
21
22
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24
25
26
27
28

      STIPULATION TO CONTINUE LAST DATE TO MEET AND CONFER UNDER GENERAL ORDER 56;
                                    [PROPOSED] ORDER


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